Case 3:15-cv-01355-TJC-MCR Document 27 Filed 09/14/17 Page 1 of 5 PageID 206



                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                    JACKSONVILLE DIVISION



   ROGER SMITH,

             Plaintiff,

   v.                                                         Case No. 3:15-cv-1355-J-32MCR

   FLORIDA COMMISSION ON
   OFFENDER REVIEW,

             Defendant.


                                               ORDER

                                                I. Status

             Plaintiff, an inmate of the Florida penal system, is proceeding in this action on a pro

   se Civil Rights Complaint (Doc. 1) (Complaint) pursuant to 42 U.S.C. § 1983. Plaintiff

   names the Florida Commission on Offender Review (FCOR) as the defendant. In the

   Complaint, Plaintiff asserts FCOR improperly applied guidelines that became effective

   August 1, 1983, after his convictions and sentences, to determine his parole release date

   in violation of his due process rights under the Fourteenth Amendment and the ex post

   facto clause of the United States Constitution. Plaintiff seeks declaratory and injunctive

   relief.

             Before the Court is the FCOR’s Motion to Dismiss (Doc. 18) (FCOR Motion) with

   exhibits (Def. Ex.). Plaintiff filed his response to the FCOR Motion.            See Plaintiff’s

   Response to Defendant’s Motion to Dismiss (Doc. 23) (Response) with exhibits (Resp.

   Ex.).
Case 3:15-cv-01355-TJC-MCR Document 27 Filed 09/14/17 Page 2 of 5 PageID 207



                                         II. Background

          On December 30, 1981, Plaintiff entered a negotiated plea of guilty to burglary of a

   dwelling with a dangerous weapon and sexual battery with use of a deadly weapon in the

   Circuit Court, Fourth Judicial Circuit in and for Duval County, Florida. Complaint at 3; Def.

   Ex. A at 2, 5. On January 29, 1982, the state court sentenced Plaintiff to two consecutive

   terms of life imprisonment, Def. Ex. A., making Plaintiff eligible for parole under the

   “Objective Parole Guidelines Act of 1978, or (OPGA).” Complaint at 1.

          Under the OPGA, FCOR must set a Presumptive Parole Release Date (PPRD) for

   an inmate and thereafter, if FCOR finds it is warranted, FCOR sets the inmate’s Effective

   Parole Release Date (EPRD). On August 1, 1983, new guidelines (1983 Guidelines) were

   implemented that affected the establishment of an inmate’s EPRD, including the

   establishment of extraordinary review procedures.

          On March 30, 2005, FCOR set Plaintiff’s PPRD for August 9, 2007, and scheduled

   for May 25, 2007, an “effective” interview with Plaintiff to establish his EPRD. Id., Def. Ex.

   I. Plaintiff alleges that at this interview he presented “satisfactory conduct and a Parole

   Release Plan.” Complaint at 5. Nevertheless, on June 20, 2007, FCOR declined to

   establish an EPRD for Plaintiff, and instead scheduled an extraordinary review for August

   8, 2007. Id. at 6, Def. Ex. J, Resp. Ex. D. After the extraordinary review, at FCOR’s meeting

   on August 15, 2007, FCOR suspended Plaintiff’s PPRD, declined to establish Plaintiff’s

   EPRD, and scheduled an extraordinary interview with Plaintiff for March 2012. Id., Def. Ex.

   K, Resp. Ex. E. FCOR conducted the extraordinary interview on March 27, 2012. Id. at 7;

   see Def. Ex. L, Resp. Ex. F. Then, on April 25, 2012, FCOR continued Plaintiff’s PPRD

   suspension, again declined to establish Plaintiff’s EPRD, and scheduled a subsequent




                                                 2
Case 3:15-cv-01355-TJC-MCR Document 27 Filed 09/14/17 Page 3 of 5 PageID 208



   extraordinary interview with Plaintiff for January 2019. Id. Plaintiff complains that it was

   improper for FCOR to follow the 1983 Guidelines when it suspended his PPRD, declined

   to set his EPRD, and followed the extraordinary review procedures.

                                            III. Decision

          FCOR argues that Plaintiff’s Complaint is untimely. 1 Specifically, FCOR asserts

   that the statute of limitations bars any of Plaintiff’s claims based on actions taken on or

   before November 5, 2011, four years before Plaintiff filed his Complaint. 2

          “A statute of limitations bar is ‘an affirmative defense, and . . . plaintiff[s] [are] not

   required to negate an affirmative defense in [their] complaint.’” La Grasta v. First Union

   Sec., Inc., 358 F.3d 840, 845 (11th Cir. 2004) (quoting Tregenza v. Great Am. Commc’ns

   Co., 12 F.3d 717, 718 (7th Cir. 1993)). Thus, at the motion-to-dismiss stage, a “dismissal

   on statute of limitations grounds is appropriate only if it is ‘apparent from the face of the

   complaint’ that the claim is time-barred.” La Grasta, 358 F.3d at 845.

          Section 1983 claims “are governed by the forum state's residual personal

   injury statute of limitations.” Burton v. City of Belle Glade, 178 F.3d 1175, 1188 (11th Cir.

   1999). In Florida, the applicable limitations period is four years. Chappell v. Rich, 340 F.3d

   1279, 1283 (11th Cir. 2003) (“Florida's four-year statute of limitations applies to such

   claims of deprivation of rights under 42 U.S.C. §§ 1983 and 1985.”); Burton, 178 F.3d at

   1188 (same); Fla. Stat. § 95.11(3)(p). “Generally, ‘the statute of limitations does not begin



   1 Defendant also argues that it is entitled to Eleventh Amendment Immunity and Plaintiff
   fails to state a claim. However, the Court will not address these arguments because
   Defendant’s timeliness argument properly resolves the FCOR Motion.
   2 Defendant inadvertently states that Plaintiff filed his Complaint in November 2013. FCOR
   Motion at 6. Plaintiff, however, filed his Complaint on or about November 5, 2015. This
   discrepancy does not alter the Court’s ruling on the FCOR Motion.


                                                  3
Case 3:15-cv-01355-TJC-MCR Document 27 Filed 09/14/17 Page 4 of 5 PageID 209



   to run until the facts which would support a cause of action are apparent or should be

   apparent to a person with a reasonably prudent regard for his rights.’” Lovett v. Ray, 327

   F.3d 1181, 1182 (11th Cir. 2003) (quoting Rozar v. Mullis, 85 F.3d 556, 561 (11th Cir.

   1996)).

         From the face of Plaintiff’s Complaint (and the documents attached to the FCOR

   Motion and Plaintiff’s Response), the Court finds that it is untimely. By August 15, 2007,

   Plaintiff knew or should have known that FCOR was following the 1983 Guidelines to

   suspend his PPRD, withhold his EPRD, and schedule an extraordinary interview. Yet,

   Plaintiff waited until 2015, more than seven years after FCOR’s actions, to file the

   Complaint. Therefore, to the extent Plaintiff attempts to assert any claims related to

   FCOR’s actions up through August 15, 2007, related to the 1983 Guidelines, they are

   untimely.

         Moreover, Plaintiff’s claims related to FCOR’s actions in 2012 are also untimely. On

   August 15, 2007, FCOR suspended Plaintiff’s PPRD, withheld his EPRD, and scheduled

   an extraordinary interview for March 2012. FCOR conducted the extraordinary interview

   on March 27, 2012. Thereafter, on April 25, 2012, FCOR decided to continue the

   suspension of Plaintiff’s PPRD, continue to withhold the establishment of an EPRD, and

   schedule a subsequent extraordinary interview for January 2019. FCOR’s actions in 2012

   were a continuation of its actions from 2007 with continued reliance on the 1983

   Guidelines. “Our precedents draw a clear analytical distinction between continuing

   violations and the continuing effects of a completed violation; the former extends the

   limitations period while the other does not”. McGinley v. Mauriello, 682 F. App’x 868, 872

   (11th Cir. 2017); see also Brown v. Georgia Bd. of Pardons & Paroles, 335 F.3d 1259,




                                               4
Case 3:15-cv-01355-TJC-MCR Document 27 Filed 09/14/17 Page 5 of 5 PageID 210



   1261–62 (11th Cir. 2003) (“Each time Brown's parole reconsideration hearing is set, it does

   not amount to a distinct and separate injury. Rather, Brown's injury, to the extent it ever

   existed, was when the Georgia Parole Board applied its new policy, eliminating the

   requirement of parole review every three years for Brown, retroactively. It is the decision

   in 1995 that forms a potential basis for Brown's claim. It was also at this point that Brown

   could have discovered the factual predicate of his claim. The successive denials of parole

   do not involve separate factual predicates and therefore do not warrant separate statute-

   of-limitations calculations.” (citations omitted)). In 2012, Plaintiff simply experienced the

   continuing effects of an alleged completed constitutional violation that first occurred in

   2007. Thus, his Complaint is barred by the statute of limitations. Accordingly, it is now

          ORDERED AND ADJUDGED:

          1. The Florida Commission on Offender Review’s Motion to Dismiss (Doc. 18) is

             GRANTED.

          2. Plaintiff’s Motion to Substitute Parties (Doc. 24) is MOOT.

          3. This case is DISMISSED with prejudice.

          4. The Clerk of Court shall enter judgment dismissing this case with prejudice,

             terminate any pending motions, and close this case.

          DONE AND ORDERED in Jacksonville, Florida the 14th day of September, 2017.




   sflc

   c:     Roger Smith, #081849
          Counsel of Record


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